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 9
                                 UNITED STATES DISTRICT COURT
10
                              NORTHERN DISTRICT OF CALIFORNIA
11
                                     SAN FRANCISCO DIVISION
12
     Edward Taylor Sittler, Quatsch Revocable
13   Trust u/a April 20, 2020, as amended, and
     Quatsch Investments, LLC,
14
                    Plaintiffs and Counterclaim-   Case No. 3:24-cv-00402-CRB
                    Defendants,
15
            v.
16
                                                   STIPULATION AND [PROPOSED]
     Crescent Cove Opportunity Lending, LLC,       ORDER FOR MODIFICATION OF CASE
17   Crescent Cove Opportunity Lending B, LLC,     SCHEDULE
     Crescent Cove Capital II, LP,
18
                    Defendants and Counterclaim-
19                  Plaintiffs.

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26                                                          STIPULATION FOR EXTENSION OF TIME
      Case 3:24-cv-00402-CRB          Document 23           Filed 09/27/24   Page 2 of 4




 1          Plaintiffs and Counterclaim-Defendants Edward Taylor Sittler, Quatsch Revocable Trust

 2 u/a April 20, 2020, as amended, and Quatsch Investments, LLC (“Plaintiffs”) and Defendants and

 3 Counterclaim-Plaintiffs Crescent Cove Opportunity Lending, LLC, Crescent Cove Opportunity

 4 Lending B, LLC, Crescent Cove Capital II, LP (“Crescent Cove”), through their respective

 5 attorneys of record herein and without waiving any rights, claims, or defenses they have in this

 6 action, enter into this Stipulation to modify the case schedule and request that the Court grant the

 7 [Proposed] Order herein pursuant to Civil Local Rule 6-2:

 8          WHEREAS, the current case schedule (Doc. 19) provides for the following deadlines:

 9             ● Deadline for Parties to Complete Depositions: October 18, 2024

10             ● Deadline to Disclose Experts (Affirmative Reports): October 31, 2024

11             ● Deadline for Rebuttal Expert Reports: November 22, 2024

12             ● End of Fact Discovery: December 20, 2024

13             ● Deadline to File Dispositive Motions: January 10, 2025

14                     o Opposition Papers: 60 Days

15                     o Reply Papers: 30 Days

16             ● Pretrial Conference: To Be Determined

17             ● Trial: To Be Determined;

18          WHEREAS, the parties have met and conferred and agreed to extend the case schedule to

19 accommodate the parties’ counsel’s scheduling conflicts due to trial and other proceedings, and to

20 facilitate renewed settlement discussions between the parties;

21          WHEREAS, the parties have previously stipulated to two time modifications in this case

22 (Doc. 7 and Doc. 13), both of which related to Crescent Cove’s time to answer or otherwise

23 respond to the Complaint and predated the Court’s April 29, 2024 order entering the current case

24 schedule (Doc. 19);

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26                                                                  STIPULATION FOR EXTENSION OF TIME
      Case 3:24-cv-00402-CRB         Document 23             Filed 09/27/24    Page 3 of 4




 1         WHEREAS, the parties have agreed to the following modified schedule:

 2             ● Deadline for Parties to Complete Depositions: December 6, 2024

 3             ● Deadline to Disclose Experts (Affirmative Reports): December 20, 2024

 4             ● Deadline for Rebuttal Expert Reports: January 17, 2025

 5             ● End of Fact Discovery: February 7, 2025

 6             ● Deadline to File Dispositive Motions: February 21, 2025

 7                     o Opposition Papers: 60 Days

 8                     o Reply Papers: 30 Days

 9             ● Pretrial Conference: To Be Determined

10             ● Trial: To Be Determined

11         WHEREAS, aside from the deadlines outlined above, this extension will not alter or

12 otherwise impact the date of any other event or deadline already fixed by Court order;

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16                           - - - [ this section intentionally left blank ] - - -

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26                                                                   STIPULATION FOR EXTENSION OF TIME
     Case 3:24-cv-00402-CRB         Document 23          Filed 09/27/24   Page 4 of 4




 1         THEREFORE, the parties, through their counsel, hereby stipulate to the modified schedule

 2 as described herein.

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 4    IT IS SO STIPULATED.

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 6
      Dated: September 27, 2024                      /s/ Renee Bea
 7                                                  Renee Bea

 8                                                  Attorney for Plaintiffs and Counterclaim-
                                                    Defendants Edward Taylor Sittler, Quatsch
 9                                                  Revocable Trust u/a April 20, 2020, as
                                                    amended, and Quatsch Investments, LLC
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11    Dated: September 27, 2024                      /s/ Adam Wolfson
                                                    Adam Wolfson
12
                                                    Attorney for Defendants and Counterlaim-
13                                                  Plaintiffs Crescent Cove Opportunity Lending,
                                                    LLC, Crescent Cove Opportunity Lending B,
14                                                  LLC, Crescent Cove Capital II, LP
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16    PURSUANT TO STIPULATION, IT IS SO ORDERED.

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18    Dated: September 27, 2024                     Hon. Charles R. Breyer
                                                    United States District Judge
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26                                                               STIPULATION FOR EXTENSION OF TIME
